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                   IN THE UNITED STATES DISTRICT COURT
               IN AND FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

VIRGINIA JUNEAU,

                     Plaintiff,
                                                       Case No. 8:14-cv-1907-MSS-TGW
v.

GENESIS BANKCARD SERVICES, INC.,

                     Defendant.
                                                /

                         NOTICE OF PENDING SETTLEMENT

       Defendant, Genesis Bankcard Services, Inc., by and through its undersigned

counsel, hereby submits this Notice of Pending Settlement and states that the parties have

reached a verbal settlement with regard to this case and are presently drafting, finalizing,

and executing the settlement and dismissal documents. Upon execution of the same, the

parties will file the appropriate dismissal documents with the Court.

                                          Respectfully Submitted,


                                          /s/ Dayle M. Van Hoose
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                                          Attorneys for Defendant,
                                          Genesis Bankcard Services, Inc.


                              CERTIFICATE OF SERVICE

       I certify that on this 27th day of January 2015, a copy of the foregoing was filed

electronically in the ECF system. Notice of this filing will be sent to the parties of record

by operation of the Court’s electronic filing system, including Plaintiff’s counsel as

described below. Parties may access this filing through the Court’s system.

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                                          /s/ Dayle M. Van Hoose
                                          Attorney




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